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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

UNITED STATES OF AMERICA EX
REL BARBARA BERNIER,

                     Plaintiff,

v.                                                        Case No. 6:16-cv-970-Orl-37TBS
INFILAW CORPORATION; and
CHARLOTTE SCHOOL OF LAW, LLC,

                     Defendants.


                                         ORDER

       In the instant qui tam action, Plaintiff initiated suit against Defendants under the

False Claims Act. (Doc. 1.) Defendants then filed a motion to dismiss on October 26, 2017.

(Doc. 45 (“Motion”).) Instead of responding to the Motion, Plaintiff filed an amended

complaint. (Doc. 48.) This filing renders the Motion moot, so the Court finds that it is due

to be denied as moot.

       Accordingly, it is ORDERED AND ADJUDGED that the Motion to Dismiss of

Defendants Infilaw Corporation and Charlotte School of Law, LLC (Doc. 45) is DENIED

AS MOOT.

       DONE AND ORDERED in Chambers in Orlando, Florida, on November 13, 2017.




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Copies to:

Counsel of Record




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